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                                UNITED STATES DISSTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION


   NUVASIVE, INC.,                                  )
                                                    )
                  Plaintiff,                        )
   v.                                               ) Civil Case No. 6:17-cv-2206-0rl-41GJK
                                                    )
   ABSOLUTE MEDICAL, LLC, GREG                      )
   SOUFLERIS, and DAVE HAWLEY,                      )
                                                    )
                  Defendants.                       )
                                                    )

        DEFENDANT ABSOLUTE MEDICAL, LLC'S RESPONSE TO PLAINTIFF'S FIRST
                SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                          I. PRELIMINARY STATEMENT

           Pursuant to rule 45(c)(2)(B) of the Federal Rules of Civil Procedure (the "Federal

   Rules"), ABSOLUTE MEDICAL, LLC ("Defendant") hereby responds and objects to the

   Request for Production dated April 6, 2018, served upon it by NUVAS IVE, INC ("Plaintiff')

   (the "Request for Production"), as follows:

           Defendant has conducted a diligent search and reasonable inquiry in response to the

   Request for Production and Requests for Documents. However, Defendant has not completed its

   investigation of the facts related to this case, has not completed discovery in this Action, and has

   not completed its preparation for any trial that might be held herein. Its responses and objections

   to the Request for Production and Requests for Documents are based upon information currently

   known to Defendant and are given without prejudice to Defendant's right to revise, correct,

   supplement, add to, amend, or clarify its responses and/or objections to the Request for

   Production when and if additional information or documentation comes to its attention.

   Moreover, Defendant expressly reserves the right to make use of, or introduce at any hearing or


                                                                                                   EXHIBIT
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   trial, documents or facts not known to exist at the time of production, including, without

    limitation, documents obtained in the course of discovery in this Action.

           Defendant's Responses and Objections to the Request for Production or its production of

    any documents shall not be construed as: (i) an admission as to the relevance, admissibility, or

    materiality of any such documents or their subject matter; (ii) a waiver or abridgment of any

    applicable privilege; or (iii) an agreement that requests for similar documents will be treated

    similarly.

            Further, Defendant reserves all of its rights, including its right to supplement, amend, or

    correct any of its Responses and Objections to the Request for Production and its right to object

   to the admissibility of any part of any document produced in response to any Request or

    information contained in any such document.

                                     II.   GENERAL OBJECTIONS


            Without in any way limiting the Preliminary Statement set forth above, Defendant asserts

   the following general objections:

          1.       Defendant objects to the Request for Production in its entirety to the extent

   that it is overbroad or purports to impose obligations upon it that exceed those set forth in

   Federal Rules 26, 34 and 45, the Case Management Order entered in this case, or any other

   applicable statute, rule, or order.

          2.       Defendant objects to the Request for Production in its entirety to the extent

   that it purports to call for the disclosure of information, or the production of documents, that

   are subject to the attorney work product protection, the attorney-client privilege, or any other

   applicable privilege, including privileged information or documents shared with entities with

   which Defendant holds or held a common interest.
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         3.        Defendant asserts such privileges and objects to the provision of information

   or production of any documents subject thereto. To the extent that any production of

   documents or information is made, any inadvertent production of such privileged documents

   or information in response to the Request for Production would not be intended to constitute

   a waiver of any applicable privilege or protection. Defendant demands that Plaintiff, its

   agents and attorneys notify Defendant's undersigned counsel of the production of any such

   documents .immediately upon discovery of such documents, and return such documents to

   such undersigned counsel upon request.

         4.       Defendant objects to the Request for Production in its entirety to the extent it

   purports to call for the disclosure of information, or the production of documents, that are

   part of a category of documents subject to the attorney work product protection, the

   attorney-client privilege, or any other applicable privilege, including privileged information

   or documents shared with parties for whom Defendant serves in an distributor capacity.

         5.       Defendant objects to the Request for Production in its entirety to the extent

   that it purports to require the production of documents that are not in its possession, custody,

   or control.

         6.       No Objection or limitation, or lack thereof, or statement that Defendant will

   produce documents made these Responses and Objections constitutes an admission as to the

   existence or nonexistence of documents or information by Defendant.

         7.        Defendant objects to the Request for Production in its entirety to the extent

   that it is vague ambiguous confusing, and contrary to the plain meaning of the terns

   involved.
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         8.       Defendant objects to the Request for Production in its entirety to the extent

   that it purports to call for the disclosure of information, or the production of documents, that

   are subject to the terms of the Case Management Order.

         9.       Defendant objects to the Interrogatories in its entirety to the extent that it is

   outside the scope of this action and has no relation to the claims and defenses raised in this

    litigation, and thus not proportional to the needs of the case, or the production of such

   constitutes material protected from disclosure pursuant to the Case Management Order.

          10.       Defendant objects to the Request for Production in its entirety to the extent

   entirety to the extent that it calls for the document-by-document identification within thirty

   days of service of the Request for Production of those documents that are protected by the

   attorney-client privilege, common interest privilege, and work product protection as seeking

   to impose obligations beyond the scope of Federal Rules 26, 34 and 45, and beyond the

   scope of the Case Management Order entered in this case. Given the number of documents

   subject to review by Defendant further objects on the grounds that such an instruction is

   unduly burdensome.

         11.        Defendant objects to the Request for Production in its entirety to the extent

   that (a) the discovery sought by any Request is unreasonably cumulative or duplicative, or

   is obtainable from another source that is more convenient, less burdensome, or less

   expensive; (b) the requested documents were previously pr9duced and are currently located

   in the Document Depository; (c) Aurelius has obtained the material sought by any request

   or demand in any other proceeding or pursuant to any other means;(d) the documents are a

   matter of public record or could be obtained from Aurelius or its counsel's files; or (e) the

   burden or expense of any demand outweighs its likely benefit.
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                   12.        Defendant objects to the Request for Production in its entirety to the extent

             that it calls for information from Defendant in a capacity other than Defendant's capacity as

             distributor, and/or seeks discovery as to the ordinary-course business relationships between

             any party and Defendant or any entity related to Defendant.

                   13.        Defendant objects to the term "any and "all" as used throughout the

             Request for Production as overly broad and unduly burdensome. Defendant will make a

             good faith, reasonable, and diligent effort to locate responsive documents consistent with

             any General or Specific Objections. In searching for documents, Defendant will conduct a

             thorough and reasonable search for its records kept in the ordinary course of business, where

             information, documents or other things responsive to this discovery are most likely to be

             found. Defendant has also sought information from those .persons who are most likely to
,/   -

             know of information or documents or other things responsive to the Request for Production.

             To the extent the Request for Production asks for more and seeks documents that are not

             reasonably accessible because they cannot be retrieved, or produced without undue burden

             or cost, such as backup tapes intended for disaster recovery., Defendant objects because the

             discovery is overly broad and unduly burdensome.


                                           RESPONSES AND OBJECTIONS

             1.  Please produce all of your contracts or other agreements with:
                 (a) Soufleris;
                 (b) Hawley;
                 (c) Ryan Miller;
                 (d) Brandon Gottstein;
                 (e) Thad Braggula;
                 (f) Brennan Burkhart; and
                 (g) Alphatec.
             RESPONSE: Defendant has no documents responsive tQ this request.
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    2.    Please produce all Communications between you and Alphatec.
    RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
    to discover documents that are irrelevant and outside the scope of this action and that have
    no relation to the claims and defenses raised in this litigation, and thus not proportional to
    the needs of the case. Notwithstanding said objections, Defendant has no documents
    responsive to this request.

    3.    Please produce all charge sheets you have submitted to Alphatec.
    RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
    to discover documents that are irrelevant and outside the scope of this action and that have
    no relation to the claims and defenses raised in this litigation, and thus not proportional to
    the needs of the case. Notwithstanding said objections, Defendant has no documents in
    response to this request.

    4.  Please produce all communications you sent to or received from Dr. Paul Sawin since June
        1, 2017.
    RESPONSE: Defendant has no documents responsive to this request.

    5.    Please produce all state and federal income tax returns that you filed or caused to be filed
          for calendar years 2016 and 2017.
    RESPONSE: Defendant objects as the request for Defendant's 2016 tax return and as
    grounds asserts that Plaintiff seeks to discover documents that are irrelevant and outside
    the scope of this action and that have no relation to the claims and defenses raised in this
    litigation, and thus not proportional to the needs of the case. Notwithstanding said
    objections, Defendant has documents responsive to this request as pertains to Defendant's
    2017 tax return as it has yet to be filed with the IRS.

    6.    Please produce all of your profit and loss statements that were generated since June 1,
          2017.
    RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
    to discover documents that are irrelevant and outside the scope of this action and that have
    no relation to the ·claims and defenses raised in this litig~tion, and thus not proportional to
    the needs of the case. Specifically, Plaintiff is only entitled to request financial records that
    pertain to the pending action. This is clearly a post-judgment discovery request because
    Plaintiff is attempting to improperly pry into the assets and business of Defendant prior to
    obtaining a judgment.

    7.  Please produce all of your balance sheets that were generated since June 1, 2017.
    RESPONSE: Defendant objects to this request as it is c;>verly broad, unduly burdensome,
    vague, and ambiguous. Defendant further objects to this request and as grounds asserts
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    that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
    action and that have no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Specifically, Plaintiff is only entitled to request
    financial records that pertain to the pending action. This is clearly a post-judgment
    discovery request because Plaintiff is attempting to improperly pry into the assets and
    business of Defendant prior to obtaining a judgment.

    8.   Please produce all of your payroll records since June 1, 2017.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous. Defendant further objects to this request and as grounds asserts
    that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
    action and that have no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Specifically, Plaintiff is only entitled to request
    financial records that pertain to the pending action. This is clearly a post-judgment
    discovery request because Plaintiff is attempting to improperly pry_ into the assets and
    business of Defendant prior to obtaining a judgment.

    9.   Please produce all of your data from QuickBooks (or other financial reporting software)
         since June 1, 2017.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous. Defendant further objects to this request and as grounds asserts
    that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
    action and that have no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Specifically, Plaintiff is only entitled to request
    financial records that pertain to the pending action. This is clearly a post-judgment
    discovery request because Plaintiff is attempting to improperly pry into the assets and
    business of Defendant prior to obtaining a judgment.

    10.  Please produce all check registers you created, modified, or otherwise inputted data since
         June 1, 2017.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous. Defendant further objects to this request and as grounds asserts
    that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
    action and that have no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Specifically, Plaintiff is only entitled to request
    financial records that pertain to the pending action. This is clearly a post-judgment
    discovery request because Plaintiff is attempting to improperly pry into the assets and
    business of Defendant prior to obtaining a judgment.
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       11. Please produce all of your bank statements since June 1, 2017.
       RESPONSE: Defendant objects to this request as it is 9verly broad, unduly burdensome,
       vague, and ambiguous. Defendant further objects to this request and as grounds asserts
       that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
       action and that have no relation to the claims and defenses raised in this litigation, and thus
       not proportional to the needs of the case. Specifically, Plaintiff is only entitled to request
       financial records that pertain to the pending action. This is clearly a post-judgment
       discovery request because Plaintiff is attempting to improperly pry into the assets and
       business of Defendant prior to obtaining a judgment.

        12. Please produce all requests for expense reimbursement you have received since June 1,
            2017.
       RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
       vague, and ambiguous. Defendant further objects to this request and as grounds asserts
       that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
       action and that have no relation to the claims and defenses raised in this litigation, and thus
       not proportional to the needs of the case. Specifically, Plaintiff is only entitled to request
       financial records that pertain to the pending action. This is clearly a post-judgment
       discovery request because Plaintiff is attempting to improperly pry into the assets and
(      business of Defendant prior to obtaining a judgment.

       13.   Please produce all records of all payments you have received from Alphatec or any other
             participant in the spine industry (other than NuVasive) since June 1, 2017.
       RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
       to discover documents that are irrelevant and outside the scope of this action and that have
       no relation to the claims and defenses raised in this litigation, and thus not proportional to
       the needs of the case. Notwithstanding said objections, Defendant has no documents
       responsive to this request.

       14.   Please produce all commission statements you have received from Alphatec or any other
             participant in the spine industry (other than NuVasive). since June 1, 2017.
       RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
       to discover documents that are irrelevant and outside the sc.ope of this action and that have
       no relation to the claims and defenses raised in this litigation, and thus not proportional to
       the needs of the case. Notwithstanding said objections, Defendant has no documents
       responsive to this request.
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                               CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on May 11, 2018, that I electronically transmitted a true copy
   to:

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                                                          Respectfully,

                                                         Isl Chantal M Pillay
                                                          Chantal M. Pillay
                                                          Fla. Bar No. 108369
